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                          UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION OPIATE MDL No. 2804
LITIGATION
                                    Case No. 1:17-md-2804
This document relates to:
                                                 Judge Dan Aaron Polster

The County of Osceola, Florida v. Purdue SHORT FORM FOR SUPPLEMENTING
Pharma, L.P., et al                      COMPLAINT AND AMENDING
                                         DEFENDANTS AND JURY DEMAND
1:18-op-45669-DAP




       Plaintiff submits this supplemental pleading and Amended Complaint incorporating as if

fully set forth herein its own prior pleadings and, if indicated below, the common factual

allegations identified and the RICO causes of action included in the Corrected Second Amended

Complaint and Jury Demand in the case of The County of Summit, Ohio, et al., v. Purdue

Pharma L.P., et al., Case No. 1:18-op-45090 (“Summit County Pleadings”), In Re National

Prescription Opiate Litigation, in the United States District Court for the Northern District of

Ohio, Dkt #513, 5141), and as may be amended in the future, and any additional claims asserted

herein. Plaintiff also hereby amends its complaint to alter the defendants against which claims

are asserted as identified below. To the extent defendants were previously sued in plaintiff(s)’

existing complaint and they are no longer identified as defendants herein, they have been

dismissed without prejudice except as limited by CMO-1, Section 6(e). Doc. #232.


1
  Docket #513 is the redacted Summit Second Amended Complaint and Docket #514 is the
unredacted Summit Corrected Second Amended Complaint filed under seal in Case No. 1:17-
md-02804-DAP. The redacted Summit Corrected Second Amended Complaint is also filed in its
individual docket, Case No. 1:18-op-45090-DAP, Docket #24.
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           INCORPORATION BY REFERENCE OF EXISTING COMPLAINT

       1.      Plaintiff’s Existing Complaint (No. 1:18-op-45669-DAP Doc. #: 2-1, 2 & 3) is
expressly incorporated by reference to this Short Form as if fully set forth herein except to the
extent that allegations regarding certain defendants that are not listed in section 2 below are
dismissed without prejudice.

                                   PARTIES – DEFENDANTS

       2.     Having reviewed the relevant ARCOS data, Plaintiff asserts claims against the
following Defendants:

[List all Defendants against which claims are asserted. To the extent a claim is not asserted
against a particular defendant, so indicate below. Otherwise each claim will be deemed to be
asserted against all Defendants (except for the RICO claims identified below). If Defendants
have not been sued previously in Plaintiff(s)’ Existing Complaint, Plaintiff must include separate
factual allegations below in support of each new defendant and must separately serve each newly
named Defendant with notification of the specific ARCOS data that Plaintiffs claim supports the
addition of this Defendant pursuant to the Court’s Order Setting Procedure for Short Form
Amendment of Complaints and Incorporation by Reference of Materials Under Seal]
Purdue Pharma L.P.;, Purdue Pharma Inc.; The Purdue Frederick Company, Inc.; Teva
Pharmaceuticals USA, Inc.; Cephalon, Inc.; Johnson & Johnson; Janssen Pharmaceuticals, Inc.;
Ortho-Mcneil-Janssen Pharmaceuticals, Inc. N/K/A Janssen Pharmaceuticals, Inc.; Janssen
Pharmaceutica, Inc. N/K/A Janssen Pharmaceuticals Inc.; Endo Pharmaceuticals, Inc.; Allergan
PLC F/K/A Actavis PLC2; Actavis, Inc. F/K/A Watson Pharmaceuticals, Inc.; Watson
Laboratories, Inc.; Insys Therapeutics, Inc.; Actavis LLC; Actavis Pharma, Inc. F/K/A Watson
Pharma, Inc.; Endo Health Solutions, Inc.; McKesson Corporation; Cardinal Health, Inc;
Amerisourcebergen Drug Corporation; Anda, Inc.; SpecGx LLC; Par Pharmaceutical, Inc.;
Par Pharmaceuticals Companies, Inc.; West-Ward Pharmaceuticals Corp. k/n/a Hikma
Pharmaceuticals, Inc.; Mylan Pharmaceuticals, Inc.; Mylan Specialty, L.P.; Mylan Pharms,
Inc.; Walgreen Eastern Co.; Walgreen Co.; Walgreens Boots Alliance, Inc.; Wal-Mart, Inc.;
CVS Health Corporation; and Ethex Corporation.




2
 The list of Allergan-related entities shall be understood to incorporate all affiliates that owned,
manufactured, distributed, monitored, or sold opioid medicines at issue, including: Allergan
Finance, LLC; Allergan Sales, LLC; Allergan USA, Inc.; Warner Chilcott Company, LLC;
Watson Laboratories, Inc.; Actavis Elizabeth LLC; Actavis Pharma, Inc.; Actavis LLC; Actavis
Mid Atlantic LLC; Actavis Kadian LLC; Actavis Totowa LLC; Actavis South Atlantic LLC;
Actavis Laboratories UT, Inc.; and Actavis Laboratories FL, Inc.
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I, Salvatore C Badala, Counsel for Plaintiff, certify that in identifying all Defendants, I
have followed the procedure approved by the Court and reviewed the ARCOS data that I
understand to be relevant to Plaintiff.

I further certify that, except as set forth below, each of the Defendant(s) newly added
herein appears in the ARCOS data I reviewed.

I understand that for each newly added Defendant not appearing in the ARCOS data I
must set forth below factual allegations sufficient to state a claim against any such newly
named Defendant that does not appear in the ARCOS data.

The following newly added Defendant(s) do not appear in the ARCOS data I reviewed:

Richard S. Sackler; Jonathan D. Sackler; Mortimer D.A. Sackler; Kathe A. Sackler; Ilene Sackler
Lefcourt; Beverly Sackler; Theresa Sackler; David A. Sackler; Rhodes Technologies; Rhodes
Technologies Inc.; Rhodes Pharmaceuticals L.P.; Rhodes Pharmaceuticals Inc.; Trust for the
Benefit of Members of the Raymond Sackler Family; The P.F. Laboratories, Inc.; Stuart D.
Baker; John N. Kapoor; Mallinckrodt plc; Mallinckrodt LLC; Miami-Luken, Inc.; Noramco,
Inc.; Rite Aid of Maryland, Inc.; and Rite Aid Corp.




Dated:        03/18/2019             Signed:        /s/ Salvatore C. Badala

Factual Allegations Regarding Individual Defendants

       2.1     See enclosed Addendum to Short Form Complaint- Amended of Plaintiff for
separate factual allegations againts each newly named defendant.

                           COMMON FACTUAL ALLEGATIONS

        3.      By checking the boxes in this section, Plaintiff hereby incorporates by reference
to this document the common factual allegations set forth in the Summit County Pleadings as
identified in the Court’s Order implementing the Short Form procedure. Dkt. # 1282

   ☒ Common Factual Allegations (Paragraphs 130 through 670 and 746 through 813)
   ☒ RICO Marketing Enterprise Common Factual Allegations (Paragraphs 814-848)
   ☒ RICO Supply Chain Enterprise Common Factual Allegations (Paragraphs 849-877)

        4.      If additional claims are alleged below that were not pled in Plaintiff’s Existing
Complaint (other than the RICO claims asserted herein), the facts supporting those allegations
must be pleaded here. Plaintiff asserts the following additional facts to support the claim(s)
identified in Paragraph 6 below (below or attached):
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                      Not applicable




                                            CLAIMS

        5.      The following federal RICO causes of action asserted in the Summit County
Pleadings as identified in the Court’s implementing order and any subsequent amendments, Dkt.
1282, are incorporated in this Short Form by reference, in addition to the causes of action already
asserted in the Plaintiff(s)’s Existing Complaint (check all that apply):

   ☒ First Claim for Relief – Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid Marketing
   Enterprise (Against Defendants Purdue, Cephalon, Janssen, Endo and Mallinckrodt (the
   “RICO Marketing Defendants”)) (Summit County Pleadings, Paragraphs 878-905)

   ☒ Second Claim for Relief – Violation of RICO, 18 U.S.C. § 1961 et seq. – Opioid Supply
   Chain Enterprise (Against Defendants Purdue, Cephalon, Endo, Mallinckrodt, Actavis,
   McKesson, Cardinal, and AmerisourceBergen (the “RICO Supply Chain Defendants”))
   (Summit County Pleadings, Paragraphs 906-938)


       6.      Plaintiff asserts the following additional claims as indicated (below or attached):

                      Not applicable



        7.      To the extent Plaintiff(s) wish(es) to dismiss claims previously asserted in
Plaintiff(s)’s Existing Complaint, they are identified below and will be dismissed without
prejudice.

               Not applicable




       WHEREFORE, Plaintiff(s) prays for relief as set forth in the Summit County Pleadings in

In Re National Prescription Opiate Litigation in the United States District Court for the Northern
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District of Ohio, MDL No. 2804 and in Plaintiff’s Existing Complaint as has been amended

herein.

Dated: March 18, 2019
                                               /s/ Salvatore C. Badala
                                               Salvatore C. Badala
                                               Paul J. Napoli
                                               Hunter J. Shkolnik
                                               Shayna Sacks
                                               Joseph L. Ciaccio
                                               NAPOLI SHKOLNIK PLLC
                                               400 Broadhollow Road, Suite 305
                                               Melville, New York 11747
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                                               pnapoli@napolilaw.com
                                               hunter@napolilaw.com
                                               ssacks@napolilaw.com
                                               jciaccio@napolilaw.com
                                               Attorneys for Plaintiff
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                ADDENDUM TO SHORT FORM COMPLAINT – AMENDED OF PLAINTIFF
                                  COUNTY OF OSCEOLA
        Plaintiff County of Osceola, by and through its attorneys, for its Addendum to its Short

Form Complaint – Amended regarding additional defendants, alleges on personal knowledge as

to itself and on information and belief as to all other matters:

                 NATURE OF AMENDED SHORT FORM COMPLAINT AND ADDENDUM
                                  ADDITIONAL PARTIES
A.      Purdue-Related Additional Defendants
        1.      The Purdue-Related Additional Defendants are entities and individuals associated

with Purdue Pharma L.P. (“PPLP”), Purdue Pharma Inc. (“PPI”), and The Purdue Frederick

Company, Inc. (“PFC”) (collectively “Purdue”).            These three entities are members of a

worldwide group of associated companies all of which are owned and controlled, directly or

indirectly through family trusts and holding companies, 50% by the widow and descendants of

Mortimer D. Sackler (“Mortimer Sackler Family”) and 50% by the widow and descendants of

Raymond R. Sackler (“Raymond Sackler Family”) (together the Mortimer Sackler Family and

the Raymond Sackler Family are referred to as the “Sackler Families”). At all relevant times, the

Sackler Families jointly managed and controlled all of the associated companies that the two

families owned. Each of the Purdue-related individuals and entities named herein as Additional

Defendants knowingly aided, abetted, participated in, and benefitted from the wrongdoing of

Purdue as alleged in the Complaint; none is named merely because of his, her, or its status as a

shareholder, limited partner, member of a limited liability company, or beneficiary of a trust.

        2.      Purdue has been sued by many plaintiffs for the role it played in creating the

opioid epidemic. The three Purdue entities originally sued, PPLP, PPI, and PFC, may, however,

lack sufficient assets to satisfy their liabilities to those plaintiffs, other creditors, and Plaintiff,

because billions of dollars of profits from Purdue’s sale of opioids has been distributed to the



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Sackler Families since the 1980s. Accordingly, by this pleading, Plaintiff is adding as defendants

those members of the Sackler Families and their controlled entities who knowingly participated

in the wrongdoing of Purdue as alleged in the Complaint, and who knowingly received the

benefits of that wrongdoing.

       3.      Defendant Richard S. Sackler is a natural person residing in Travis County, Texas.

He is a son of Raymond Sackler and, beginning in the 1990’s, served as a member of the Board

of Directors of Purdue and Purdue-related entities..

       4.      Defendant Jonathan D. Sackler is a natural person residing in Fairfield County,

Connecticut. He is a son of Raymond Sackler and has been a member of the Board of Directors

of Purdue and Purdue-related entities since the 1990s.

       5.      Defendant Mortimer D.A. Sackler is a natural person residing in New York

County, New York. He is the son of Mortimer Sackler and has been a member of the board of

directors of Purdue and Purdue-related entities since the 1990s.

       6.      Defendant Kathe A. Sackler is a natural person residing in Fairfield County,

Connecticut. She is the daughter of Mortimer Sackler and has served as a member of the board of

directors of Purdue and Purdue-related entities since the 1990s.

       7.      Defendant Ilene Sackler Lefcourt is a natural person residing in New York

County, New York. She is the daughter of Mortimer Sackler and has served as a member of the

board of directors of Purdue and Purdue-related entities since the 1990s.

       8.      Defendant Beverly Sackler is a natural person residing in Fairfield County,

Connecticut. She is the widow of Raymond Sackler and has served as a member of the board of

directors of Purdue and Purdue-related entities since the 1990s.




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       9.      Defendant Theresa Sackler is a natural person residing in New York County, New

York. She is the widow of Mortimer Sackler and has served as a member of the board of

directors of Purdue and Purdue-related entities since the 1990s.

       10.     Defendant David A. Sackler is a natural person residing in New York County,

New York. He is the son of Richard Sackler (and thus grandson of Raymond Sackler) and has

served as a member of the board of directors of Purdue and Purdue-related entities since 2012.

       11.     Defendant Rhodes Technologies (“Rhodes Tech”) is a Delaware general

partnership formed on April 12, 2005 with its principal place of business in Coventry, R.I. At

relevant times, Rhodes Tech or its predecessor has manufactured and supplied Purdue with

oxycodone, the active pharmaceutical ingredient in OxyContin, for use in the manufacture of

pharmaceutical preparations.

       12.     Defendant Rhodes Technologies Inc. (“Rhodes Tech Inc.”) is a Delaware

corporation formed January 28, 1999 with its principal place of business in Coventry, R.I.

Rhodes Tech Inc. is a general partner of Rhodes Tech. At relevant times, Rhodes Tech Inc. has

manufactured and supplied Purdue with oxycodone, the active pharmaceutical ingredient in

OxyContin, for use in the manufacture of pharmaceutical preparations or has managed Rhodes

Tech or its predecessor in doing so.

       13.     Defendant Rhodes Pharmaceuticals L.P. (“Rhodes Pharma”) is a Delaware

limited partnership formed November 9, 2007 with its principal place of business in Coventry,

R.I. At all relevant times, Rhodes Pharma has marketed a generic form of OxyContin which is

manufactured by Purdue Pharmaceuticals L.P. (“PPNC”), a Delaware limited partnership, which

is a subsidiary of Defendant PPLP and which owns and operates a pharmaceutical manufacturing

facility in Wilson, North Carolina.




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       14.    Defendant Rhodes Pharmaceuticals Inc. (“Rhodes Pharma Inc.”) is a New York

corporation formed on November 9, 2007. Rhodes Pharma Inc. is a general partner of Rhodes

Pharma. At all relevant times, Rhodes Pharma Inc. has marketed a generic form of OxyContin

which is manufactured by PPNC.

       15.    Defendant Trust for the Benefit of Members of the Raymond Sackler Family (the

“Raymond Sackler Trust”) is a trust of which Defendants Beverly Sackler, Richard S. Sackler,

and/or Jonathan D. Sackler are trustees. It is the 50% direct or indirect beneficial owner of

Purdue and the Purdue-related Additional Defendants and the recipient of 50% of the profits

from the sale of opioids by Purdue and the Purdue-related Additional Defendants.

       16.    Defendant The P.F. Laboratories, Inc. (“PF Labs”) is a New Jersey corporation

with its principal place of business located in Totowa, New Jersey. It was, at relevant times,

engaged in the business of manufacturing OxyContin for Purdue. At all relevant times, PF Labs

has been beneficially owned, managed, and controlled by Defendant Sackler Family members.

       17.    Defendant Stuart D. Baker is a natural person residing in Suffolk County, New

York. He has served as a senior executive of, and/or counsel to, Purdue, Purdue-related entities,

and members of the Sackler Families since the 1990s.

B.     Additional Marketing Defendants
       18.    Defendant Par Pharmaceutical, Inc. is a New York corporation with its principal

place of business located in Chestnut Ridge, New York. Par Pharmaceutical, Inc. is a wholly-

owned subsidiary of Par Pharmaceutical Companies, Inc. f/k/a Par Pharmaceutical Holdings, Inc.

       19.    Defendant Par Pharmaceuticals Companies, Inc. is a Delaware corporation with

its principal place of business located in Chestnut Ridge, New York (Par Pharmaceutical, Inc.

and Par Pharmaceutical Companies, Inc. are referred to collectively as “Par Pharmaceutical”).

Par Pharmaceutical is an affiliate of Defendants Endo Health Solutions Inc. (“EHS”) and Endo


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Pharmaceuticals, Inc. (“EPI). EHS, EPI, and Par Pharmaceutical, and their DEA registrant

subsidiaries and affiliates (collectively, “Endo”), manufacture opioids sold throughout the United

States including in and around Plaintiff’s geographical area..

       20.     Defendant Mallinckrodt plc is an Irish public limited company with its

headquarters in Staines-Upon-Thames, Surrey, United Kingdom. Mallinckrodt plc was

incorporated in January 2013 for the purpose of holding the pharmaceuticals business of

Covidien plc, which was fully transferred to Mallinckrodt plc in June of that year. Mallinckrodt

plc also operates under the registered business name Mallinckrodt Pharmaceuticals, with its U.S.

headquarters in Hazelwood, Missouri.

       21.     Defendant Mallinckrodt LLC is a Delaware corporation with its headquarters in

Hazelwood, Missouri, and registered to do business around Plaintiff’s geographical area.

       22.     Defendant SpecGx LLC is a Delaware limited liability company with its

headquarters in Clayton, Missouri and is a wholly-owned subsidiary of Mallinckrodt plc.

Mallinckrodt plc, Mallinckrodt LLC, and SpecGx LLC and their DEA registrant subsidiaries and

affiliates (together, “Mallinckrodt”) manufacture, market, sell and distribute pharmaceutical

drugs throughout the United States. Mallinckrodt is the largest U.S. supplier of opioid pain

medications and among the top ten generic pharmaceutical manufacturers in the United States,

based on prescriptions.

       23.     Defendant Mylan Pharmaceuticals, Inc. is a Pennsylvania corporation with its

principal place of business located in Canonsburg, Pennsylvania. It manufacturers, promotes,

markets, distributes and sells opioids in Plaintiff’s geographic area and throughout the nation.

This includes many Schedule II controlled substances such as Oxycodone and Propoxy-N.




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Mylan conducts its pharmaceutical business operations through various entities, including Mylan

Specialty, L.P. and Mylan Pharms, Inc. (collectively “Mylan”.)

       24.     Defendant West-Ward Pharmaceuticals Corp. k/n/a Hikma Pharmaceuticals, Inc.

(“West-Ward”). is a Delaware corporation with its principal place of business located in

Eatontown, New Jersey. It manufacturers, promotes, markets, distributes and sells opioids in

Plaintiff’s geographic area and throughout the nation.

       25.     Insys Therapeutics, Inc. (“Insys”) is a Delaware corporation with its principal

place of business in Chandler, Arizona. Insys develops, markets, and sells prescription drugs,

including Subsys, a sublingal spray of fentanyl, around Plaintiff’s geographical area.

       26.     Insys was co-founded in 2002 by Dr. John Kapoor, a serial pharmaceutical

industry entrepreneur “known for applying aggressive marketing tactics and sharp price

increases on older drugs.”

       27.     In 2012, Insys received U.S. Food and Drug Administration approval for Subsys,

a fentanyl sublingual spray product designed to treat breakthrough cancer pain. However, Insys

encountered significant obstacles due to insurers employing a process known as prior

authorization. Prior authorization prevents the over prescription and abuse of powerful and

expensive drugs. The prior authorization process requires “additional approval from an insurer

or its pharmacy benefit manager before dispensing…” and may also impose step therapy which

requires beneficiaries to first use less expensive medications before moving on to a more

expensive approach.

       28.     Insys circumvented this process by forming a prior authorization unit, known at

one point as the Insys Reimbursement Center (“IRC”), to facilitate the process using aggressive

and likely illegal marketing techniques. Insys published education articles that praised their




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products’ non-addictive nature; and funded patient advocacy groups who unknowingly promoted

Insys’ agenda of raising the profile of pain so that drugs could be prescribed to treat it.

Furthermore, Insys’ former sales representatives, motivated by corporate greed, paid off medical

practitioners to prescribe Subsys in spite of any medical need. Insys employees were pressured

internally and received significant monetary incentives to increase the rate of prescription

approvals.

       29.     According to a federal indictment and ongoing congressional investigation by Sen.

Claire McCaskill, IRC employees pretended to be with doctors’ offices and falsified medical

histories of patients. The report, acquired by McCaskill’s investigators, includes transcripts and

an audio recording of employees implementing these techniques in order to obtain authorization

from insurers and pharmacy benefit managers. The transcript reveals an Insys employee

pretending to call on behalf of a doctor and inaccurately describes the patient’s medical history.

For example, Insys employees would create the impression that the patient had cancer, without

explicitly saying so, because cancer was a requirement for prior clearance to prescribe Subsys.

Insys was warned by a consultant that it lacked needed policies for governing such activities, but

the executives failed to implement corrective internal procedures.

       30.     In a class action law suit against Insys, it was revealed that management “was

ware that only about 10% of prescriptions approved through the Prior Authorization Department

were for cancer patients,” and an Oregon Department of Justice Investigation found that 78% of

preauthorization forms submitted by Insys on behalf of Oregon patients were for off-label uses.

Physicians are allowed to prescribe medications for indications outside of FDA guidelines if they

see fit, but it is illegal for pharmaceutical companies to market a drug for off-label use.




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       31.     In 2008, biopharmaceutical company Cephalon settled with the U.S. Government

for 425 million in a suit against the company that alleged it marketed drugs for unapproved uses

(off-label). The FDA approved the drug only for opioid tolerant cancer patients. According to

the Oregon settlement and class-action lawsuit, at least three employees involved in sales and/or

marketing at Cephalon had moved over to Insys Therapeutics.

       32.     Additionally, Insys created a “legal speaker program” which turned out to be a

scam. The Justice Department commented on the program and stated:

       33.     The Speaker Programs, which were typically held at high-end restaurants, were

ostensibly designed to gather licensed healthcare professionals who had the capacity to prescribe

Subsys and educate them about the drug. In truth, the events were usually just a gathering of

friends and co-workers, most of whom did not have the ability to prescribe Subsys, and no

educational component took place. “Speakers” were paid a fee that ranged from $1,000 to

several thousand dollars for attending these dinners. At times, the sign-in sheets for the Speaker

Programs were forged so as to make it appear that the programs had an appropriate audience of

healthcare professionals.

       34.     Insys paid hundreds of thousands of dollars to doctors in exchange for prescribing

Subsys and three top prescribers have already been convicted of taking bribes.

       35.     Fentanyl products are considered to be the most potent and dangerous opioids on

the market and up to 50 times more powerful than heroine.

       36.     In an internal presentation dated 2012 and entitles, “2013 SUBSYS Brand Plan,”

Insys identified one of six “key strategic imperatives” as “Mitigate Prior Authorization barriers.”

On a later slide, the company identified several tasks associated with this effort, including “Build

internal [prior authorization] assistance infrastructure,” “Establish an internal 1-800




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reimbursement assistance hotline,” and “Educate field force on [prior authorization] process and

facilitation.”

        37.      Additional materials produced by Insys to the minority staff suggest, however,

that Insys did not match these efforts with sufficient compliance processes to prevent fraud and

was internally aware of the danger of problematic practices. Specifically, on February 18, 2014,

Compliance Implementation Services (CIS)—a healthcare consultant—issued a draft report to

Insys titled, “Insys Call Note, Email, & IRC Verbatim Data Audit Report.” The introduction to

the report explained that “CIS was approached by INSYS’ legal representative … on behalf of

the Board of Directors for Insys to request that CIS support in review of certain communications

with Health Care Professionals (HCPs) and INSYS employees, and report how there were being

documented.” Insys had expressed concerns “with respect to communications with HCPs by

INSYS employees being professional in nature and in alignment with INSYS approved topics

regarding off or on-label promotion of an INSYS product, and general adherence to INSYS

documentation requirements.” An additional concern “stemmed from the lack of monitoring of

commercial activities where these types of interactions could occur.”

        38.      Given these issues, Insys requested that CIS review—in part—“the general

communications from the INSYS Reimbursement Center (IRC) to HCPs, their office staff or

representatives, as well as health insurance carriers … to ensure they were appropriate in nature

with respect to specific uses of SUBSYS, INSYS’ commercially marketed product.”

        39.      According to the findings CIS issued, Insys lacked formal policies governing the

actions of its prior authorization unit. For example, “[n]o formal and approved policy on

appropriate communications between IRC employees and HCPs, their staff, [health care insurers




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(HCIs)], or patients exists…that governs the support function of obtaining a prior authorization

for the use of SUBSYS.”

       40.     In addition, the report noted that “there were also gaps in formally approved

foundational policies, procedures, and [standard operating procedures] with respect to required

processes specifically within the IRC.”

       41.     In fact, “[t]he majority of managerial directives, changes to controlled documents

or templates, as well as updates or revisions to processes were not formally approved,

documented, and disseminated for use, and were sent informally via email blast.”

       42.     Although four informal standard operating procedures existed with regarded to

IRC functions, these documents “lacked a formal review and approval” and failed to “outline

appropriately the actions performed within the IRC.”

       43.     The report also explains that Insys lacked procedures for auditing interactions

between IRC employees and outside entities. According to CIS, “no formal, documented, or

detailed processes by which IRC representatives’ calls via telephone were audited for proper

communication with HCPs or HCIs in any fashion [existed] other than random physical review

of a call in a very informal and sporadic manner.”

       44.     More broadly, the report notes that “no formal and documented auditing and

monitoring or quality control policy, process, or function exists between IRC employee

communications and HCPs, HCP staff, HCIs, or patients.”

       45.     At the end of the report, CIS provided a number of recommendations concerning

IRC activities. First, CIS suggested that IRC management “formally draft and obtain proper

review and approval of an IRC specific policy detailing the appropriate communications that

should occur while performing the IRC associate job functions and interacting with HCPs.”




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       46.     Similarly, IRC management was urged to formally draft IRC-specific standard

operating procedures “specific to each job function within the IRC,” accompanied by “adequate

training and understanding of these processes.” To ensure compliance with IRC standards, Insys

was also directed to create an electronic system to allow management “to monitor both live and

anonymously IRC employee communications both incoming and outgoing.”                Finally, CIS

recommended that Insys institute a formal process for revising and updating “IRC documentation

used for patient and HCP data.”

       47.     The CIS report concluded by noting, in part, that a review of ten conversations

between IRC employees and healthcare providers, office staff, and insurance carriers revealed

“that all IRC staff was professional in communication, and in no instance was inaccurate or off-

label usage of SUBSYS communicated.”

       48.     Yet within a year of this conclusion, according to the recording transcribed below,

an Insys IRC employee appears to have misled a PBM representative regarding the IRC

employee’s affiliation and the diagnosis applicable to Sarah Fuller. The alleged result, in that

case, was death due to inappropriate and excessive Subsys prescriptions.

       49.     One former Insys sales representative described the motto of this approach to

patients as “Start them high and hope they don’t die.”

       50.     Defendant Noramco, Inc. (“Noramco”) is a Delaware company headquartered in

Wilmington, Delaware and was a wholly owned subsidiary of J&J and its manufacturer of active

pharmaceutical ingredients until July 2016 when J&J sold its interests to SK Capital.

       51.     Defendant John N. Kapoor is a resident of Phoenix, Arizona and was the founder

and owner of Insys Therapeutics, Inc. He held various executive positions at Insys including

Chairman of the Board of Directors and CEO. In 2013, Forbes Magazine listed him as a




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billionaire following the success of Insys’ initial public offering. In 2017, Kapoor, along with

other Insys executives, was arrested and charged by the Office of the United States Attorney for

the District of Massachusetts, with multiple felonies in connection with an alleged conspiracy to

bride practitioners to prescribe Subsys and defraud insurance companies.

        52.    Defendant Kapoor personally directed the activities of Insys, including, upon

information and belief, the payment of fraudulent kickbacks to prescribers in Florida, and

directed the misrepresentations to third party payors to obtain off-label coverage of Subsys.

        53.    Defendants Richard S. Sackler, Jonathan D. Sackler, Mortimer D.A. Sackler,

Kathe A. Sackler, Ilene Sackler Lefcourt, Beverly Sackler, Theresa Sackler, David A. Sackler,

Stuart Baker, Rhodes Tech, Rhodes Tech Inc., Rhodes Pharma, Rhodes Pharma Inc., Raymond

Sackler Trust, PF Labs, Par Pharmaceutical, Inc., Par Pharmaceutical Companies, Inc.,

Mallinckrodt plc, Mallinckrodt LLC, SpecGx LLC, Insys, Noramco, and John Kapoor are

“Marketing Defendants” as used in the Summit County Complaint. Plaintiffs adopt all

allegations and causes of action alleged against the Marketing Defendants in the Summit County

Complaint against these defendants as if fully set forth herein.

C.      Additional Wholesale and Retail Distributor Defendants
        54.    Defendant Anda, Inc. (“Anda”), is a Florida corporation with its principal office

located in Olive Branch, Mississippi and is registered to do business in and around Plaintiff’s

geographical area.. Through its various DEA registrant subsidiaries and affiliated entities, Anda

is the fourth largest distributor of generic pharmaceuticals in the United States. In October 2016,

Defendant Teva Pharmaceuticals USA, Inc. (“Teva”) acquired Anda for $500 million in cash. At

all times relevant to this Complaint, Anda distributed prescription opioids throughout the United

States, including in and/or around Plaintiffs’ geographical area.




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       55.      Defendant Ethex Corporation (“Ethex”) was a wholly owned subsidiary of KV

Pharmaceutical k/n/a AMAG Pharma USA, Inc., a Delaware corporation previously

headquartered in St. Louis, Missouri, and currently headquartered in Waltham, Massachusetts.

At all relevant times, Ethex manufactured, promoted, distributed, and sold opioids throughout

Plaintiffs’ Communities and the rest of the nation.

       56.      Defendant CVS Health Corporation (“CVS”) is a Delaware corporation with its

principal place of business in Rhode Island. CVS, through its various DEA registered

subsidiaries and affiliated entities, conducts business as a licensed wholesale distributor. CVS

also operates retail stores, including in and around Plaintiff’s geographical area., that sell

prescription medicines, including opioids.

       57.      At all times relevant to this Complaint, CVS distributed prescription opioids and

engaged in the retail selling of opioids throughout the United States, including in and around

Plaintiff’s geographical area..

       58.      Defendant Rite Aid of Maryland, Inc., dba Rite Aid Mid-Atlantic Customer

Support Center, Inc. is a Delaware corporations with its principal offices located in Camp Hill,

Pennsylvania.

       59.      Defendant Rite Aid Corp. is a Delaware corporations with its principal offices

located in Camp Hill, Pennsylvania. Together, Rite Aid of Maryland, Inc. and Rite Aid Corp.

are referred to as “Rite Aid.”

       60.      Rite Aid, through its various DEA registered subsidiaries and affiliated entities,

conducts business as a licensed wholesale distributor. Rite-Aid also operates retail stores,

including in and around Plaintiff’s geographical area that sell prescription medicines, including

opioids.




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          61.   At all times relevant to this Complaint, Rite Aid, through its various DEA

registered subsidiaries and affiliated entities, distributed prescription opioids and engaged in the

retail selling of opioids throughout the United States, including in and around Plaintiff’s

geographical area..

          62.   Defendant Walgreens Boots Alliance, Inc., is a Delaware corporation with its

principal place of business in Illinois.

          63.   Defendant Walgreen Eastern Co. is a subsidiary of Walgreens Boots Alliance, Inc.

that is engaged in the business of distributing pharmaceuticals, including prescription opioids.

Defendant Walgreen, Co. is a subsidiary of Walgreens Boots Alliance that operates retail drug

stores.

          64.   Together, Walgreens Boots Alliance, Inc., Walgreen Eastern Co. and Walgreen

Co. are referred to as “Walgreens.”

          65.   Walgreens, through its various DEA registered subsidiaries and affiliated entities,

conducts business as a licensed wholesale distributor. At all times relevant to this Complaint,

Walgreens distributed prescription opioids and engaged in the retail selling of opioids throughout

the United States, including in and around Plaintiff’s geographical area.

          66.   Defendant Wal-Mart Inc. (“Wal-Mart”), is a Delaware corporation with its

principal place of business in Bentonville, Arkansas. Walmart, through its various DEA

registered affiliated entities, conducts business as a licensed wholesale distributor. At all times

relevant to this Complaint, Wal-Mart distributed prescription opioids and engaged in the retail

selling of opioids throughout the United States, including in and around Plaintiff’s geographical

area..




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        67.     In their capacity as wholesale distributors, Anda, CVS, Rite-Aid, Walgreens, and

Wal-Mart are “Distributor Defendants” as used in the Summit County Complaint. Plaintiffs

adopt all allegations and causes of action alleged against the Distributor Defendants in the

Summit County Complaint against these defendants as if fully set forth herein.

        68.     Defendant Miami-Luken, Inc. (“Miami-Luken”) is an Ohio corporation with its

headquarters and principal place of business in Springboro, Ohio. At all times relevant to this

Complaint, Miami-Luken distributed prescription opioids throughout the United States,

including in and around Plaintiff’s geographical area.

        69.     To the extent they are sued with respect to their activities as retail sellers of

prescription opioids, CVS, Rite-Aid, Walgreens, and Wal-Mart are referred to herein as “Retail

Chain Pharmacies” or “Retail Chain Pharmacy Defendants.” The allegations pertaining to the

Retail Chain Pharmacies that form the basis of Plaintiff’s claims against these defendants are set

forth below.

                      ALLEGATIONS PERTAINING TO ADDITIONAL DEFENDANTS
A.      The Purdue-Related Additional Defendants Participated in and Profited from
        Purdue’s Wrongdoing
                (1)     Structure of the Purdue Entities and the Roles of the Individual
                        Purdue-Related Defendants
        70.     At all relevant times, the Sackler Families – in particular, as detailed below,

Richard Sackler, Jonathan Sackler, Mortimer D.A. Sackler, Kathe Sackler, Beverly Sackler,

Thereas Sackler, Ilene Sackler Lefcourt, David Sackler, and Raymond Sackler Trust (“Sackler

Defendants”) – controlled Purdue and its associated companies. Purdue is part of a complicated

web of entities through which the Sackler Families operate. PPI is the managing general partner

of PPLP and of many of the various Purdue-related entities. Its status as managing general

partner of the various entities ensures PPI’s control of those entities. In turn, at all relevant times,



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all of the members of the board of PPI have been members of the Sackler Families or Sackler-

family retainers.   The Purdue-related Additional Defendants that are not controlled by the

Sackler Defendants through PPI are controlled by them through different entities unknown to

Plaintiff.

        71.    Because the Sackler Families control of the board of PPI, the officers of PPI and

PPLP reported to them. This ensured Sackler control of PPI and PPLP, even when the officers of

those entities were not themselves members of the Sackler Families.

        72.    The Sackler Defendants are beneficial owners of, and exercise complete control

over, all four Rhodes Defendants and PF Labs.

        73.    The Sackler Defendants made the decision that the Sackler Families should enter

the generic market for OxyContin in or about 2008 and that it should do so through Rhodes

Pharma, a Sackler-owned entity created for that purpose.

        74.    The Sackler Defendants caused Purdue and other associated companies that they

beneficially owned and controlled to distribute to the Sackler Families hundreds of millions of

dollars of profits earned by Purdue and its associated companies from the sale of opioids.

        75.    Each of the Sackler Defendants named herein has served on the board of directors

of, or as an officer of, Purdue and one or more Purdue-related Additional Defendants.

        76.    The Sackler Defendants beneficially own and control all of the entities owned by

the Sackler Families, including PF Labs and the Rhodes Defendants, in substantially the same

way as they control PPLP and its affiliates, although they may do so using different holding

companies and trusts than those used to control PPLP.

        77.    At all relevant times, Richard Sackler played an active and central role in the

management of Purdue and the Purdue-related Additional Defendants. He began working for




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Purdue as Assistant to the President (his father, Raymond) in the 1970s. He later served as Vice

President of Marketing and Sales. In the early 1990s he became Senior Vice President, which

was the position he held at the time OxyContin was launched in 1996. In 1999, he became

President, and he served in that position until 2003.

       78.     Richard Sackler resigned as President in 2003, apparently due to a concern that

executive officers of Purdue would be held personally liable for opioid-related liabilities and

crimes. However, he continued to serve, with his uncle Mortimer, as Co-Chair of the Board of

Purdue. In that way, among others, the family maintained control over their family business,

even though they were no longer officers, because the officers reported to them.

       79.     As a senior executive of Purdue, Richard Sackler was actively involved in the

invention, development, marketing, promotion, and sale of Purdue’s opioid products, including

OxyContin. He worked tirelessly to make OxyContin a blockbuster, telling colleagues how

devoted he was to the drug’s success. Along with his father (Raymond) and his uncle (Mortimer),

he launched OxyContin with one of the biggest pharmaceutical marketing campaigns in history,

deploying many persuasive techniques pioneered by his uncle Arthur. Within five years of its

introduction, OxyContin was generating a billion dollars a year. When OxyContin met with

resistance, Richard participated in Purdue’s efforts to counter that resistance.

       80.     At all relevant times, Richard Sackler served as a trustee of one or more trusts that

beneficially own and control Purdue and the Purdue-related Additional Defendants.

       81.     Richard Sackler is the direct or indirect beneficiary of some portion of 25% of the

profits earned by Purdue and the Purdue-related Additional Defendants named herein as

additional defendants from the sale of opioids.




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       82.     Jonathan Sackler was a Vice President of Purdue in 1991, and by 2000 he was a

Senior Vice President. Like his brother Richard, he resigned that position in or after 2003,

apparently due to a concern that executive officers of Purdue would be held personally liable for

opioid-related liabilities and crimes. However, he continued to serve on the board of Purdue.

       83.     At all relevant times, Jonathan Sackler served as a trustee or one or more trusts

that beneficially owns and control Purdue and the Purdue-related Additional Defendants.

       84.     Jonathan Sackler is the direct or indirect beneficiary of some portion of 25% of

the profits earned by Purdue and the Purdue-related Additional Defendants from the sale of

opioids.

       85.     Mortimer D.A. Sackler served as a Vice President of Purdue during the period of

the development, launch, and promotion of OxyContin. He resigned that position in or after 2003,

apparently due to a concern that executive officers of Purdue would be held personally liable for

opioid-related liabilities and crimes. However, he continued to serve on the Board of Purdue.

       86.     Mortimer D.A. Sackler is the direct or indirect beneficiary of 7.14% of the profits

earned by Purdue and the Purdue-related Additional Defendants from the sale of opioids.

       87.     Kathe A. Sackler was a Vice President of Purdue in 1991, and by 2000 she was a

Senior Vice President. She resigned that position in or about 2003 due to a concern that

executive officers of Purdue would be held personally liable for opioid-related liabilities and

crimes. However, she continued to serve on the Board of Purdue.

       88.     Kathe A. Sackler is the direct or indirect beneficiary of 7.14% of the profits

earned by Purdue and the Purdue-related Additional Defendants from the sale of opioids.

       89.     Ilene Sackler Lefcourt served as Vice President of Purdue during the period of the

development, launch, and promotion of OxyContin. She resigned that position in or after 2003,




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apparently due to a concern that executive officers of Purdue would be held personally liable for

opioid-related liabilities and crimes. However, she continued to serve on the Board of Purdue.

         90.   Ilene Sackler Lefcourt is the direct or indirect beneficiary of 7.14% of the profits

earned by Purdue and the Purdue-related Additional Defendants from the sale of opioids.

         91.   At all relevant times, Beverly Sackler served as a trustee of one or more trusts that

beneficially own and control Purdue and the Purdue-related Additional Defendants and to which

50% of the profits of Purdue and the Purdue-related Additional Defendants from the sale of

opioids has been conveyed. She has also served as a member of the board of directors of Purdue

and Purdue-related entities since the 1990s.

         92.   Beverly Sackler is the direct or indirect beneficiary of some portion of 50% of the

profits earned by Purdue and the Purdue-related Additional Defendants from the sale of opioids.

         93.   Theresa Sackler is the direct or indirect beneficiary of 50% of the profits earned

by Purdue and the Purdue-related Additional Defendants from the sale of opioids. She has also

served as a member of the board of directors of Purdue and Purdue-related entities since the

1990s.

         94.   David A. Sackler is the direct or indirect beneficiary of some portion of 25% of

the profits earned by Purdue and the Purdue-related Additional Defendants from the sale of

opioids. He has also served as a member of the board of directors of Purdue and Purdue-related

entities since 2012.

         95.   Stuart Baker joined Purdue in 1994 as Executive Vice President of PPLP and as

Vice President of PF Co. He served as legal counsel to the entire Purdue organization and the

Sackler Families. He also served as an officer of other Sackler-owned, Purdue-related entities.

He served as a trustee of one or more trusts that beneficially own and control Purdue and the




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Purdue-related Additional Defendants. He served as Corporate Secretary for Purdue, and as such

he gained direct knowledge of the wrongdoing alleged in the Complaint. In his capacity as an

officer, director, and lawyer, he knowingly aided, abetted, participated in, and benefitted from

the wrongdoing of Purdue as alleged in the Complaint and knowingly aided and abetted the

Sackler Families, and the Purdue-related Additional Defendants, to structure their personal

affairs and the personal and business organizations they beneficially owned and controlled in

such a way as to attempt to evade personal liability for the wrongdoing in which he knew they

had engaged and in which he knew they intended to continue to engage.

       96.     The Sackler Families are the sole beneficial owners of Purdue and its associated

companies and the Purdue-related Additional Defendants. All of Purdue’s and its associated

companies’ profits go to Sackler-family trusts and entities.

       97.     Richard Sackler, Jonathan Sackler, Mortimer D.A. Sackler, Kathe Sackler, Ilene

Sackler Lefcourt, Beverly Sackler, Theresa Sackler, David Sackler, Rhodes Tech, Rhodes Tech

Inc., Rhodes Pharma, Rhodes Pharma Inc., the Raymond Sackler Trust (through its trustees), P.F.

Labs, and Stuart D. Baker each knowingly aided, abetted, participated in, and benefitted from the

wrongdoing of Purdue as alleged in the Complaint.

               (2)     The Sacklers and the Integration of Advertising and Medicine
       98.     As set forth in the Complaint, before the defendants in this action began their

marketing campaign for prescription opioids, generally accepted standards of medical practice

dictated that opioids should only be used short-term, for instance, for acute pain, pain relating to

recovery from surgery, or for cancer or palliative care. In those instances, the risks of addiction

are low or of little significance. The commercial success of prescription opioids thus would not

have been possible without a fundamental shift in prescribers’ perception of the risks and

benefits of long-term opioid use.


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       99.      As it turned out, Purdue was uniquely positioned to execute just such a maneuver,

thanks to the legacy of Arthur Sackler, the (now-deceased) brother of Raymond and Mortimer

Sackler.

       100.     Arthur Sackler created the pharmaceutical advertising industry as we know it—

laying the groundwork for the OxyContin promotion that would make the Sacklers billionaires.

       101.     Arthur Sackler, a psychiatrist turned “ad man,” was both a psychiatrist and a

marketing executive, and, by many accounts, a brilliant and driven man. He pursued two careers

simultaneously, as a psychiatrist at Creedmoor State Hospital in New York and the president of

an advertising agency called William Douglas McAdams. Arthur pioneered both print

advertising in medical journals and promotion through physician “education” in the form of

seminars and continuing medical education courses. He understood the persuasive power of

recommendations from fellow physicians, and did not hesitate to manipulate information when

necessary. For example, one promotional brochure produced by his firm for Pfizer showed

business cards of physicians from various cities as if they were testimonials for the drug, but

when a journalist tried to contact these doctors, he discovered that they did not exist.

       102.     Arthur Sackler revolutionized medical marketing in the 1950’s and 60’s by

creating the very marketing ploys his family later used to perpetuate the massive fraud alleged in

this action. In striving to make Pfizer (with its blockbuster drug, valium) a household name

among physicians, Arthur Sackler recognized that “selling new drugs requires a seduction of not

just the patient but the doctor who writes the prescription,” and he maximized influence over

physician prescribing by developing the following marketing ploys to disseminate

pharmaceutical messaging to the masses under the guise of science and truth:

             a. contacting prescribers directly with a variety of perks, benefits and even job offers;



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           b. publishing seemingly neutral articles in medical journals, citing scientific studies

               (frequently underwritten by the pharmaceutical companies whose products he was

               marketing);

           c. marketing illnesses (i.e., lamenting and marketing the under treatment of

               purported illnesses and the corresponding under-utilization of drugs he was

               promoting);

           d. paying prominent physicians to endorse his products; and

           e. funding continuing medical education programs (“CME’s”), controlling the

               messaging of key opinion leaders, and maximizing influence over physician

               prescribing practices.
       103.    In the 1960s, Arthur Sackler made Valium into the first hundred0-million-dollar

drug, so popular it became known as “Mother’s Little Helper.” His expertise as a psychiatrist

was one of the keys to his success. When Arthur’s client, Roche, developed Valium, it already

had a similar drug, Librium, another benzodiazepine, on the market for treatment of anxiety. So

Arthur invented a condition he called “psychic tension”—essentially stress—and pitched Valium

as the solution. The campaign, for which Arthur was compensated based on volume of pills sold,

was a remarkable success.

       104.    In marketing tranquilizers Librium and Valium, Arthur Sackler broadened his

customer base to potentially include everyone. For example, one campaign encouraged doctors

to prescribe Valium to people with no psychiatric symptoms whatsoever, urging doctors to

“consider the usefulness of Valium” in patients with no demonstrable pathology. Such marketing

led one physician, writing in the journal Psychosomatics in 1965, to ask, “When do we not use

this drug?’”

       105.    As the line between medical education and medical marketing became very

deliberately blurred, Valium became the pharmaceutical industry’s first hundred-million-dollar,


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and then billion-dollar, drug. For his design and creation of these medical marketing strategies,

he was posthumously inducted into the Medical Advertising Hall of Fame, but as succinctly put

by Allen Frances, the former chair of psychiatry at Duke University School of Medicine: “‘Most

of the questionable practices that propelled the pharmaceutical industry into the scourge it is

today can be attributed to Arthur Sackler.’”

       106.    In other precursors of the current crisis, Arthur Sackler promoted these drugs

despite the lack of any studies of their addictive potential. Additionally, he started his own

newspaper, the Medical Tribune, despite concerns that a pharmaceutical advertiser should not be

publishing a medical periodical directed at doctors. He paid Key Opinion Leaders (“KOLs”),

including for example, Henry Welch (then chief of FDA’s antibiotics division), almost $300,000

in exchange for his help in promoting pharmaceutical drugs. By the 1970’s, doctors were

prescribing more than 100 million tranquilizer prescriptions annually, creating what Sen. Edward

Kennedy called “‘a nightmare of dependence and addiction.’”

               (3)     The Sackler Families and the Development of OxyContin
       107.    The Sackler brothers—Arthur, Mortimer, and Raymond—purchased a small

patent-medicine company called the Purdue Frederick Company (“PF Co.”) in 1952.

       108.    PF Co. had been formed in 1892 by Dr. John Purdue Gray and George Frederick

Bingham and incorporated in New York on June 29, 1911.

       109.    After Arthur’s death, Mortimer and Raymond bought out his share. Since that

time PF Co. and its associated companies have all been owned by the Raymond Sackler Family

and the Mortimer Sackler Family.

       110.    PF Co. is no longer an active New York corporation, having been merged into PF

Labs on May 7, 2004.




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       111.    At all relevant times, PF Co. and PF Labs have been beneficially owned by the

Sackler Families and controlled by them through Defendant Sackler Family members.

       112.    After the Sackler brothers acquired PF Co. in 1952, they sold products ranging

from earwax remover to antiseptic, and it became a profitable business. As an advertising

executive, Arthur was not involved, on paper at least, in running the family business because that

would have been a conflict of interest. Raymond became the head executive of the family’s US

business while Mortimer ran the UK side of the business.

       113.    Beginning in the 1980s PF Co. and its associated companies engaged in the

business of designing, testing, manufacturing, labeling, advertising, promoting, marketing,

selling or distributing opioids throughout the United States.

       114.    In the 1980s, the Sackler Families, through a UK affiliate, acquired a Scottish

drug producer that had developed a sustained-release technology suitable for morphine. PF Co.

marketed this extended-release morphine as MS Contin. It quickly became the Sackler Families’

best seller. As the patent expiration for MS Contin loomed, the Sackler Families searched for a

drug to replace it. Around that time, Richard Sackler had become more involved in the

management of the families’ businesses. Richard had grand ambitions for the family business;

according to a long-time Purdue sales representative, “Richard really wanted Purdue to be big—I

mean really big.” Richard believed Purdue should develop another use for its “Contin” timed-

release system.

       115.    In 1990, Purdue’s VP of clinical research, Robert Kaiko, sent a memo to Richard

and other executives recommending that the company work on a pill containing oxycodone. At

the time, oxycodone was perceived as less potent than morphine, largely because it was most

commonly prescribed as Percocet, the relatively weak oxycodone-acetaminophen combination




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pill, or Percodan, where it was blended with aspirin. By contrast, the oxycodone pill developed

by Purdue – OxyContin -- was pure oxycodone in a time-release formula similar to MS Contin,

and it was more potent than morphine. Purdue also decided to produce pills with as much as 160

milligrams of oxycodone, far in excess of any other prescription opioid.

       116.    OxyContin was created by PF Co., but responsibility for designing, testing,

manufacturing, labeling, advertising, promoting, marketing, selling, and distributing OxyContin

and other opioid products was shared among PF Co., Purdue, PF Labs, and other Purdue-related

companies.

       117.    At relevant times, OxyContin was manufactured by PF Labs.

       118.    MS Contin had always been limited by the stigma associated with morphine.

Oxycodone did not have that problem, and what is more, it was sometimes mistakenly called

“oxycodeine,” which also contributed to a false perception of relatively lower potency, because

codeine is weaker than morphine. Purdue acknowledged using this false perception to its

advantage when it eventually pled guilty to criminal charges of “misbranding” in 2007, admitting

that it was “well aware of the incorrect view held by many physicians that oxycodone was

weaker than morphine” and “did not want to do anything ‘to make physicians think that

oxycodone was stronger or equal to morphine’ or to ‘take any steps . . . that would affect the

unique position that OxyContin’” held among physicians.

       119.    Even though oxycodone did not have the same stigma as morphine, in focus

groups conducted before OxyContin’s release, Purdue learned that doctors were concerned about

the abuse potential of opioids. The focus group concluded that the perceived abuse potential of

opioids was the “‘biggest negative’ that might prevent widespread use of the drug.”




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       120.    For Purdue and OxyContin to be “really big,” Purdue needed to both distance its

new product from the traditional view of narcotic addiction risk, and broaden the drug’s uses

beyond cancer pain and hospice care. A marketing memo sent to Purdue’s top sales executives in

March 1995 recommended that if Purdue could show that the risk of abuse was lower with

OxyContin than with traditional immediate-release narcotics, sales would increase. As discussed

below, Purdue did not find or generate any such evidence, but this did not stop Purdue from

making that claim regardless.

       121.    Despite the fact that there has been little or no change in the amount of pain

reported in the U.S. over the last twenty years, Purdue recognized an enormous untapped market

for its new drug. As Dr. David Haddox, a Senior Medical Director at Purdue, declared on the

Early Show, a CBS morning talk program, “There are 50 million patients in this country who

have chronic pain that’s not being managed appropriately every single day. OxyContin is one of

the choices that doctors have available to them to treat that.”

               (4)     Purdue’s Officers and Directors Knew About, and Participated in,
                       Purdue’s Wrongdoing
       122.    The members of the board of Purdue were intimately involved in the activities of

the entities that they managed, often on a weekly or even daily basis.

       123.    Purdue, PF Co., PF Labs, and the Sackler Families launched OxyContin with one

of the biggest pharmaceutical marketing campaigns in history, deploying many persuasive

techniques pioneered by Arthur. They trained and armed a force of approximately 1,000 sales

representatives with charts showing OxyContin's purported benefits. A major thrust of the sales

campaign was that OxyContin should be prescribed not merely for the kind of severe short-term

pain associated with surgery or for cancer pain but also for less acute, longer-lasting pain, such




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as arthritis, back pain, sports injuries, fibromyalgia. The number of conditions that OxyContin

could treat seemed almost unlimited.

       124.    The training included "training in 'overcoming objections' from clinicians." "If a

doctor inquired about addiction," the representative was instructed to respond thus: "'The

delivery system is believed to reduce the abuse liability of the drug.'"            Another sales

representative said that Purdue executives "told us to say things like it is 'virtually' non-

addicting."

       125.    Purdue sales representatives were provided with studies and literature provided by

other physicians. Purdue had a speakers' bureau through which it paid several thousand doctors

to attend medical conferences and deliver presentations about OxyContin's merits. "Doctors

were offered all-expenses-paid trips to pain-management seminars in places like Boca Raton."

Internal documents reflect that doctors who attended these seminars wrote OxyContin

prescriptions more than twice as often as those who didn't.

       126.    Purdue also advertised in medical journals and produced promotional videos

featuring not just satisfied patients but also doctor's testimonials. "The marketing of OxyContin

relied on an empirical circularity: the company convinced doctors of the drug's safety with

literature that had been produced by doctors who were paid, or funded, by the company."

       127.    According to a former OxyContin sales representative, Richard Sackler was "'the

dude that made it happen.'"       Richard Sackler himself was tireless in his dedication to

OxyContin's success. When benefit plans began citing OxyContin abuse as an excuse not to pay,

Richard Sackler sent an email to sales representatives stating that, for insurers, "'addiction' may

be a convenient way to just say 'NO.'"




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       128.    Members of the Sackler family were daily on site at Purdue's headquarters,

controlling the management of their family business and all of its employees.

       129.    Richard Sackler is named as inventor on some 50 patents relating to oxycodone

and other pain medications, including several patents apparently issued as late as 2016. Virtually

all such patents invented by Richard Sackler were assigned to Purdue.

       130.    In 1997, both Richard and Kathe Sackler were part of a conspiracy to deceive

physicians into believing that oxycodone was half as strong as morphine, when in fact the

opposite was true; this deception was known by Purdue to ease the fears of well-meaning and

careful physicians about prescribing OxyContin for non-cancer pain uses.

       131.    In the late 1990s Richard, Jonathan and Kathe Sackler participated in an unlawful

attempt to deceive European drug regulators into classifying OxyContin as totally uncontrolled,

i.e., capable of being obtained without a prescription, despite the fact that all of these family

members were by then well aware of the abuse liability of the drug in the U.S.

       132.    In 2001, Kathe Sackler attended a talk given by the chief medical officer of

Sikorsky Aircraft, in which the speaker expressed grave concern about the risks associated with

OxyContin; instead of acknowledging this fact to the medical officer, Kathe Sackler instead

remained silent and returned to the Purdue headquarters, where employees were directed to find

ways to undercut and deflect the Sikorsky medical officer's concerns.

       133.    In the period around 1999-2003, Purdue developed a method to cause company

emails to self-destruct at a pre-determined time; this was an attempt to create a system where

potentially incriminating documents would automatically self-destruct, even after receipt by

unrelated third-parties. Richard, Jonathan and Kathe Sackler all were directly aware and

supportive of this project.




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               (5)    Members of the Sackler Families Were Aware of Risks Associated
                      With OxyContin No Later Than the Summer of 1999
       134.    That prescription opioids would lead to addiction, and specifically that OxyContin

could be, and was being, abused has been known to Purdue and to the members of the Sackler

Families involved in running the family business since at least the summer of 1999.

       135.    In summer of 1999, a Purdue sales representative wrote to the President of Purdue

reporting widespread abuse of OxyContin. As a result of that memo, a secretary at Purdue,

Maureen Sara, was tasked with doing research on the Internet to learn about the nature and scope

of the abuse, specifically to learn about how recreational drug users were misusing OxyContin.

       136.    In order to carry out her assignment, Ms. Sara began visiting drug-user Internet

"news groups" or "chat rooms" on a daily basis. Two groups in particular that Ms. Sara visited

were alt.drugs and alt.drugs.hard. For a period of time, in the late summer and early fall of 1999,

Ms. Sara would forward screen shots from these news groups on a daily basis to Howard Udell,

then General Counsel of Purdue.

       137.    In October or November, 1999, Ms. Sara prepared a memo summarizing her

research into misuse of OxyContin. The memo described how users would remove the coating

on the OxyContin pills, crush them, cook them, and snort or shoot them. Ms. Sara sent the

memo containing the details of OxyContin abuse by drug users not only to the President of

Purdue and to its General Counsel, but also to Purdue's then-medical director, and directly to

members of the Sackler Families involved in the management of the company, including Richard

Sackler, Jonathan Sackler, and Kathe Sackler.

       138.    Purdue, Richard Sackler, Jonathan Sackler, and Kathe Sackler were thus all aware

of the risk and abuse potential and reality of OxyContin long before Purdue acknowledged the

same to government, the healthcare community or the public. In sworn testimony before the U.S.



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House of Representatives in 2001, Purdue President Michael Friedman, in the presence of

Purdue General Counsel Howard R. Udell, swore that the first the companies knew of

widespread abuse of OxyContin was in the year 2000. This was, of course, patently inconsistent

with what the members of the Sackler Families knew from the Sara memo they had received in

1999. No member of the Sackler Families at any time tried to correct the false narrative

promulgated far and wide about the abuse liability of OxyContin, nor corrected the false

statement about when Purdue became aware of this problem with the drug.

       139.    Richard Sackler, Kathe Sackler, Jonathan Sackler, Theresa Sackler, Mortimer

D.A. Sackler, and Ilene Sackler have been aware since at least 1999 of potential liability for

Purdue, and those acting in concert with Purdue, because of the addictive nature of OxyContin.

With the intention of shielding from creditors the proceeds of their wrongdoing, they have

stripped out of Purdue and the Purdue-related Additional Defendants each and every year

hundreds of millions of dollars of profits from the sales of OxyContin and other opioid-

containing medications, including a generic form of OxyContin sold by Rhodes Pharma. All

such transfers were and are fraudulent within the meaning of applicable fraudulent transfer

statutes and case law; all such transfers unjustly enriched the recipients; and all such transferred

funds should be clawed back from the Sackler Defendants in order to satisfy the opioid-related

liabilities of the companies from which they were transferred.

               (6)     The Purdue-Related Additional Defendants Continued to Oversee
                       Purdue’s Wrongdoing Even after Purdue Was Fined and Warned
                       about Its Conduct
       140.    From 2001 to 2007, Purdue was investigated by 26 states and the U.S.

Department of Justice. Beginning in or about 2003, advised by Baker, who served as legal

counsel to the entire Purdue organization and the Sackler Families, all of the Sacklers who

served as executive officers of Purdue resigned out of concern that they might be held personally


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liable for conduct on behalf of Purdue in which they had previously engaged and in which they

expected and intended to continue to engage after their respective resignations.

       141.    In 2007, PFC agreed to pay nearly $700 million and pleaded guilty to a felony for

misleading doctors and patients about opioids. Purdue admitted that its supervisors and

employees, “with the intent to defraud or mislead, marketed and promoted OxyContin as less

addictive, less subject to abuse and diversion, and less likely to cause tolerance and withdrawal

than other pain medications.” At the same time, Purdue executive officers Michael Friedman (the

CEO), Howard Udell (Vice President and General Counsel), and Paul Goldenheim (Chief

Medical Officer) pleaded guilty to criminal charges that they let Purdue deceive doctors and

patients about its opioids.

       142.    As part of the plea agreement in 2007, Purdue agreed to a detailed Corporate

Integrity Agreement with the U.S. government. The Agreement required Purdue to appoint a

Compliance Officer who would “be a member of senior management of Purdue,” “make periodic

(at least quarterly) reports regarding compliance matters directly to the Board of Directors,” and

“be authorized to report on such matters to the Board of Directors at any time.” The Corporate

Integrity Agreement was built on the idea that the directors would ensure that Purdue never

deceived doctors and patients again.

       143.    The Corporate Integrity Agreement included the directors as “Covered Persons”

from 2007 through 2012. All Covered Persons, including the directors and CEO, were required

to comply with rules that prohibit deception about Purdue opioids. The directors were required

to undergo hours of training to ensure that they understood the rules. The directors were

required to report all violations of the rules. The directors were warned that they could face




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consequences if they failed to comply with the rules. The directors certified that they had read

and understood the rules and would comply with them.

        144.   The directors were acutely aware of their obligations under the Corporate

Integrity Agreement because, in 2009, Purdue had to report to the Inspector General of the U.S.

Department of Health and Human Services that it had not immediately trained a new director on

the Agreement. Purdue reported: “a new Director was appointed to Purdue’s Board of Directors,

without timely notice to either Corporate Compliance or the Office of General Counsel, as

otherwise required by policy, resulting in failure to timely launch the training assignment to this

new Board member.” Purdue assured the U.S. government that it had trained the new director:

“Relevant personnel were reminded of existing policy to notify Corporate Compliance and the

Office of General Counsel of changes to the Board of Directors. In both instances, these

individuals completed their training assignments within 1 day of Corporate Compliance learning

of this issue.” Purdue promised the government that the director’s training had addressed “the

proper methods of promoting, marketing, selling, and disseminating information about Purdue’s

products,” so Purdue would never deceive doctors and patients again.

        145.   Every year since the 2007 guilty plea and Corporate Integrity Agreement,

Purdue’s directors received warning signs about Purdue’s ongoing misconduct and opportunities

to stop it.

        146.   In 2008, more Americans died from opioid overdoses than ever before.

        147.   In 2009, the American Journal of Public Health published an article about

Purdue’s opioid marketing entitled, “The Promotion and Marketing of OxyContin: Commercial

Triumph, Public Health Tragedy.” The article detailed Purdue’s use of sales representatives,




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targeting of high-prescribers, and deception about addiction. That same year, CDC reported that

deaths from opioids had recently tripled.

       148.    In 2010, Time magazine published a story about Purdue’s opioids entitled, “The

New Drug Crisis: Addiction by Prescription.” Overdoses were the leading cause of accidental

death in 15 states. By the spring of 2010, Purdue’s directors had been told that Purdue could not

get product liability insurance to cover OxyContin.

       149.    In 2011, the White House announced that prescription drug abuse was the nation’s

fastest-growing drug problem and called for “educating healthcare providers about prescription

drug abuse … so they will not over-prescribe[.]” The CDC announced that prescription opioid

overdoses had reached epidemic levels and called out Purdue’s opioids by name. That same year,

Fortune magazine interviewed Purdue executives, including Vice President Alan Must. Fortune

published a story about Purdue, the Sackler Families, and evidence that they profited from opioid

addiction. Mr. Must admitted that Purdue was “well aware” of concerns about its conduct: “We

are well aware of detractors. For those individuals who think we’re evil … I don’t think there’s

anything we can do that is going to change their opinion.”

       150.    In 2012, the U.S. Senate launched an investigation into whether Purdue was

deceiving doctors and patients about opioids. In a letter to the CEO of Purdue, the Senators

warned of “an epidemic of accidental deaths and addiction resulting from the increased sale and

use of powerful narcotic painkillers.” The Senate letter warned Purdue specifically of the danger

of patients taking higher doses: “over the last decade, the number of prescriptions for the

strongest opioids has increased nearly fourfold, with only limited evidence of their long-term

effectiveness or risks while data suggest that hundreds of thousands of patients nationwide may

be on potentially dangerous doses.” The Senate letter also warned about Purdue misleading




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doctors and patients: “There is growing evidence pharmaceutical companies that manufacture

and market opioids may be responsible, at least in part, for this epidemic by promoting

misleading information about the drugs’ safety and effectiveness.” The Senate put the directors

on notice that they were under scrutiny, demanding that Purdue produce to investigators a set of

“presentations, reports, and communications to Purdue’s management team or board of directors

from 2007 to the present.”

       151.    In 2013, the Los Angeles Times revealed that Purdue had been compiling a list for

the past decade of 1,800 doctors suspected of recklessly prescribing its opioids, but Purdue had

reported only 8% of them to authorities.         Purdue attorney Robin Abrams gave multiple

interviews to the newspaper. Abrams was a Vice President of Purdue, and she signed Purdue’s

2007 settlement agreement. In 2013, she admitted that Purdue had the list, and said Purdue

would not agree to disclose it to authorities because, “I don’t really want to open up an

opportunity for folks come in here and start looking and second-guessing.”

       152.    Abrams and Purdue’s directors knew they had reason to fear scrutiny. The state

of Kentucky was prosecuting a lawsuit against Purdue for deceiving doctors and patients about

opioids.   Purdue’s lawyers surveyed residents who could be on the jury. One-third knew

someone who overdosed or was seriously hurt taking a Purdue opioid, and 29 percent knew

someone who died. Purdue itself filed those statistics in court.

       153.    In 2014, Edward Mahony, the Executive Vice President, CFO, and Treasurer of

Purdue stated that the Kentucky lawsuit was so significant that it could “jeopardize Purdue’s

long-term viability.” That same year, the Governor of Massachusetts declared the opioid crisis a

public health emergency.




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          154.   In 2016, the CDC published the CDC Guideline for Prescribing Opioids for

Chronic Pain to try to stop dangerous opioid prescribing.

          155.   In 2017, the President of the United States declared the opioid crisis a national

public health emergency.

          156.   PPI’s directors knew or should have known about these warnings and many

others.

          157.   The directors knew about, allowed, and directed Purdue’s deception. They

oversaw Purdue’s scheme to send sales representatives to visit doctors thousands of times. They

oversaw Purdue’s scheme to hire top prescribers to promote its opioids. They oversaw Purdue’s

effort to get more patients on higher doses of opioids for longer periods. They were aware of,

allowed and directed the content of the messages conveyed in Purdue’s marketing.

          158.   The directors of PPI controlled PPLP. The quarterly reports distributed to the

directors of PPI demonstrate that the directors in fact controlled both PPI and PPLP. The reports

and minutes make clear that the directors of PPI were kept fully informed of the activities of

Purdue in the areas “Finance,” “Sales & Marketing,” “Manufacturing & Supply Chain,”

“Quality,” “Research & Development,” “Discovery Research,” “Licensing & Business

Development,” “Corporate Compliance,” “External Affairs,” “Health Policy,” “Human

Resources,” and “Information Technology” — all of which were overseen by the directors.

          159.   The directors oversaw Purdue’s sales representatives. Richard Sackler testified

that the sales representatives were the main way that Purdue promoted its opioids. He testified

that the key to getting doctors to prescribe and keep prescribing Purdue opioids was regular

visits from the sales force. The board tracked the exact number of sales representatives and the

exact number of visits they made to urge doctors to prescribe Purdue opioids. The board knew




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which drugs were promoted; how many visits sales representatives averaged per workday; how

much each visit cost Purdue; and the company’s plan for sales visits in each upcoming quarter.

The Board approved specific plans to hire new sales representatives, hire and promote new

District and Regional managers, and create sales “territories” in which representatives would

target doctors.

        160.      The directors oversaw the tactics that sales representatives used to push opioids.

A board report analyzed a Purdue initiative to use iPads during sales visits, which increased the

average length of the sales meeting with the doctor to “16.7 minutes in front of the customer.”

        161.      The directors oversaw promotional claims that representatives presented to

doctors during sales visits. They received reports, for example, that a “review of call notes”

recorded by Purdue sales representatives “suggested potential comparative claims of superiority

of Purdue products relative to competitors,” and deceptive promotion of opioids as treatment for

“minor pain,” including hundreds of examples of deceptive marketing that required “extensive

remedial actions.”

        162.      The directors oversaw Purdue’s research, including research that contradicted its

marketing. The board received reports about studies of Purdue opioids in “opioid-naïve” patients

and patients with osteoarthritis, down to the details of the strategy behind the studies and the

enrollment of the first patients.

        163.      The directors oversaw Purdue’s improper response to signs of “abuse and

diversion” by high-prescribing doctors. The board was told exactly how many “Reports Of

Concern” Purdue sales representatives submitted to the company about doctors they visited to

promote opioids (572 Reports Of Concern in the July 2007 board report); how many “field

inquiries” Purdue had decided to conduct in response to the reports (21 inquiries in response to




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572 Reports Of Concern); and even that six Reports Of Concern were submitted in

Massachusetts.

       164.      The directors even monitored sales representatives’ emails.          Purdue held

thousands of face-to-face sales meetings with doctors, but the company prohibited its sales

representatives from writing emails to doctors, which could create evidence of Purdue’s

misconduct.   When Purdue found that some sales representatives had emailed doctors, the

company conducted an “investigation” and reported to the board that sales representatives had

been disciplined and that their emails would be discussed at the board meeting.

       165.      The directors also oversaw Purdue’s strategy to pay high prescribers to promote

Purdue opioids. A report for the board listed the exact number of conferences and dinner

meetings, with attendance figures, and assured the directors: “We are tracking the prescribing

trends of these attendees following the programs and will report the results in future reports.” The

board was told the amounts paid to certain doctors, and they received detailed reports on the

Return on Investment that Purdue gained from paying doctors to promote its drugs. The board

was told that Purdue would allow a “spending limit for gifts” of $750 per doctor per year; and

that the directors should personally report when they gave money, meals, or gifts to doctors to

promote Purdue drugs. The board was told explicitly that paying doctors to promote opioids was

“a high risk activity, in view of the potential for off-label or other improper promotional conduct

by third parties during such activities.”   When Congress required disclosure of drug company

payments to doctors, the board was told there were “significant compliance implications” for

Purdue.

       166.      The directors also oversaw Purdue’s strategy to push patients to higher doses of

opioids — which are more dangerous, more addictive, and more profitable. The board routinely




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received reports on Purdue’s efforts to push patients to higher doses. A report alerted the board

that “Net sales of the 40 and 80 mg strengths of OxyContin” had fallen below Purdue’s targets in

the fall of 2010 and were $85 million below budget. By summer, the board learned that income

was $500 million below budget “mainly due to declining sales in 40 mg and 80 mg strengths.

By fall, the board reviewed an assessment that Purdue had lost more than $800 million in

revenue because patients weren’t taking enough 40 mg and 80 mg doses. The board dug into the

issue.   Multiple reports to the board identified as a “threat” an initiative by public health

authorities to save lives by requiring doctors to consult with pain specialists before prescribing

opioid doses higher than 80mg/day. The CEO and directors oversaw Purdue’s effort to push

back against that public health “threat.” Executives were pleased to report to the directors in

2013 that “initiatives to validate increased total daily doses are having impact in the field.”

         167.   The directors also oversaw Purdue’s scheme to use higher doses of opioids to

keep patients on drugs for longer periods of time. The board received detailed reports of how

many patients stayed on Purdue’s opioids for long periods (for example, longer than 35 days),

along with Purdue’s internal research showing that getting patients on higher doses keeps them

on the drugs longer — all of which puts patients at greater risk of addiction and death. The

board received the confidential results of a study of 57,000 patients that Purdue performed

explicitly to determine how opioid dose “influences patient length of therapy.” The results

showed that patients on the highest doses “are the most persistent.” The “Recommended Actions”

presented to the board included “additional workshops for the sales force” and “specific direction”

to the sales representatives about using higher doses to keep patients on drugs longer.

         168.   The board was told in writing that encouraging higher doses “is a focal point of

our promotion,” and that sales representatives would “emphasize the importance” of increasing




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patients’ opioid doses, as soon as 3 days after starting treatment. The board even tracked specific

sales materials, such as “two new patient profiles designed to improve patient identification and

titration” – to get more opioid-naïve and elderly patients on higher doses of opioids for longer

periods of time. The board was told the exact research behind the sales strategy: higher doses

would keep patients on drugs longer because Purdue had found that “83% of patients who

discontinued were never titrated to higher doses.” The directors knew or should have known that

Purdue’s sales strategy was deceptive and that putting patients on opioids at higher doses and for

longer periods increased the risk of addiction, overdose, and death.

       169.    The directors also oversaw Purdue’s strategy of using “savings cards” to get

patients on Purdue opioids for longer periods. The board knew how many thousands of cards

were used each quarter, how the company calculated the Return On Investment, and that the

explicit goal of the program was to hook patients to “remain on therapy longer.”

       170.    The directors also oversaw Purdue’s strategy to target prescribers who did not

have special training in opioids (primary care doctors, nurse practitioners, and physician

assistants) because they “show the highest responsiveness” to Purdue’s sales push. Purdue

continued that strategy even though the DEA had expressed concern that Purdue was promoting

opioids to clinicians who were not adequately trained in pain management. The directors also

oversaw Purdue’s strategy to target elderly patients by promotion “targeted to HCPs that practice

in the long term care setting,” even down to the details of advertising that “leverages images of

older patients.” The directors knew or should have known that Purdue’s sales strategy was

deceptive and that targeting primary care doctors and elderly patients increased the risk of

addiction, overdose, and death.




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        171.    The directors also oversaw Purdue’s push to steer patients away from safer

alternatives.   They tracked the company’s effort to emphasize “the true risk and cost

consequence of acetaminophen-related liver toxicity.” The board even oversaw Purdue’s

deceptive websites, and received reports about the specific section that was found to be

deceptive by the New York Attorney General.

        172.    The directors also oversaw Purdue’s response to signs that patients were being

harmed. Reports of harm came in by the hundreds and even thousands. One board report

explained that “in excess of 5,000 cases with alleged adverse events have already been received

and processed by Drug Safety and the Litigation Support group” during a single quarter.

        173.    Each of the reports described above was sent to every Sackler Defendant on the

board at the time they were prepared.

        174.    Stuart Baker also received all of the reports described above.

B.      The Retail Chain Pharmacies Failed to Control the Supply Chain and Prevent
        Diversion
        175.    The Retail Chain Pharmacies earned enormous profits by flooding the country

with prescription opioids.

        176.    The Retail Chain Pharmacies are all engaged in the business of selling opioids at

retail. The failure of the Retail Chain Pharmacies to effectively monitor and report suspicious

orders of prescription opioids at the retail level and to implement measures to prevent diversion

through improper prescriptions greatly contributed to the vast increase in opioid overdose and

addiction.

        177.    The Retail Chain Pharmacies’ conduct directly caused a public health and law-

enforcement crisis across this country, including in Florida.




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               (1)     The Retail Chain Pharmacies Have a Duty to Prevent Diversion
       178.    Each of the Retail Chain Pharmacies does substantial business throughout the

United States. This business includes the distribution and retail sales of prescription opioids.

       179.    The Retail Chain Pharmacies distributed and sold at retail substantial quantities of

prescription opioids, including fentanyl, hydrocodone, and oxycodone in New York. In addition,

they distributed and sold at retail substantial quantities of prescription opioids in other states, and

these drugs were diverted from these other states to Florida. The Retail Chain Pharmacies failed

to take meaningful action to stop this diversion despite their knowledge of it, and contributed

substantially to the diversion problem.

       180.    Each participant in the supply chain of opioid distribution, including the Retail

Chain Pharmacies, is responsible for preventing diversion of prescription opioids into the illegal

market by, among other things, monitoring, and reporting suspicious activity.

       181.    As sellers of substances known to be dangerous and addictive, the Retail Chain

Pharmacies owe a common law duty to act with care in selling at retail these dangerous drugs.

In particular, because the risks to public health of uncontrolled distribution of these substances

are well-known, the Retail Chain Pharmacies are obliged to use reasonable care to prevent

diversion of dangerous drugs.

       182.    Defendants’ common-law duties parallel their obligations under state and federal

law, which inform, and provide the standard of care for, these common law duties.

       183.    The Retail Chain Pharmacies, like manufacturers and wholesale distributors, are

registrants under the federal Controlled Substances Act (“CSA”). 21 C.F.R. § 1301.11. Under the

CSA, pharmacy registrants are required to “provide effective controls and procedures to guard

against theft and diversion of controlled substances.” See 21 C.F.R. § 1301.71(a). In addition, 21

C.F.R. § 1306.04(a) states, “[t]he responsibility for the proper prescribing and dispensing of


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controlled substances is upon the prescribing practitioner, but a corresponding responsibility

rests with the pharmacist who fills the prescription.” Because pharmacies themselves are

registrants under the CSA, the duty to prevent diversion lies with the pharmacy entity, not the

individual pharmacist alone.

       184.     The DEA, among others, has provided extensive guidance to pharmacies

concerning their duties to the public. The guidance advises pharmacies how to identify

suspicious orders and other evidence of diversion.

       185.     Suspicious pharmacy orders include orders of unusually large size, orders that are

disproportionately large in comparison to the population of a community served by the pharmacy,

orders that deviate from a normal pattern and/or orders of unusual frequency and duration,

among others.

       186.     Additional types of suspicious orders include: (1) prescriptions written by a

doctor who writes significantly more prescriptions (or in larger quantities or higher doses) for

controlled substances compared to other practitioners in the area; (2) prescriptions which should

last for a month in legitimate use, but are being refilled on a shorter basis; (3) prescriptions for

antagonistic drugs, such as depressants and stimulants, at the same time; (4) prescriptions that

look “too good” or where the prescriber’s handwriting is too legible; (5) prescriptions with

quantities or doses that differ from usual medical usage; (6) prescriptions that do not comply

with standard abbreviations and/or contain no abbreviations; (7) photocopied prescriptions; or (8)

prescriptions containing different handwriting. Most of the time, these attributes are not difficult

to detect and should be easily recognizable by pharmacies.

       187.     Suspicious pharmacy orders are red flags for if not direct evidence of diversion.




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        188.   Other signs of diversion can be observed through data gathered, consolidated, and

analyzed by the Retail Chain Pharmacies themselves. That data allows them to observe patterns

or instances of dispensing that are potentially suspicious, of oversupply in particular stores or

geographic areas, or of prescribers or facilities that seem to engage in improper prescribing.

        189.   According to industry standards, if a pharmacy finds evidence of prescription

diversion, the local Board of Pharmacy and DEA must be contacted.

               (2)     The Retail Chain Pharmacies Failed to Perform Their Duties
        190.   Despite their legal obligations under the common law (and under the CSA), the

Retail Chain Pharmacies failed to meet their obligations and allowed widespread diversion to

occur—and they did so knowingly.

        191.   The Retail Chain Pharmacies’ failure to adequately train their pharmacists and

pharmacy technicians on how to properly and adequately handle prescriptions for opioid

painkillers, including what constitutes a proper inquiry into whether a prescription is legitimate,

whether a prescription is likely for a condition for which the FDA has approved treatments with

opioids, and what measures and/or actions to take when a prescription is identified as phony,

false, forged, or otherwise illegal, or when suspicious circumstances are present, including when

prescriptions are procured and pills supplied for the purpose of illegal diversion and drug

trafficking.

        192.   The Retail Chain Pharmacies also failed to adequately use data available to them

to identify doctors who were writing suspicious numbers of prescriptions and/or prescriptions of

suspicious amounts of opioids, or to adequately use data available to them to do statistical

analysis to prevent the filling of prescriptions that were illegally diverted or otherwise

contributed to the opioid crisis.




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       193.    The Retail Chain Pharmacies failed to analyze: (a) the number of opioid

prescriptions filled by individual pharmacies relative to the population of the pharmacy’s

community; (b) the increase in opioid sales relative to past years; (c) the number of opioid

prescriptions filled relative to other drugs; and (d) the increase in annual opioid sales relative to

the increase in annual sales of other drugs.

       194.    The Retail Chain Pharmacies also failed to conduct adequate internal or external

audits of their opioid sales to identify patterns regarding prescriptions that should not have been

filled and to create policies accordingly, or if they conducted such audits, they failed to take any

meaningful action as a result.

       195.    The Retail Chain Pharmacies were, or should have been, fully aware that the

quantity of opioids being distributed and dispensed by them was untenable, and in many areas

patently absurd; yet, they did not take meaningful action to investigate or to ensure that they

were complying with their duties and obligations under the law with regard to controlled

substances.

               (3)     The Retail Chain Pharmacies Were on Notice of and Contributed to
                       Illegal Diversion of Prescription Opioids
       196.    The Retail Chain Pharmacies were keenly aware of the oversupply of prescription

opioids through the extensive data and information they developed and maintained as both

distributors and retail sellers. Yet, instead of taking any meaningful action to stem the flow of

opioids into communities and prevent diversion, they continued to participate in the oversupply

and profit from it.

       197.    The Retail Chain Pharmacies developed and maintained extensive data on opioids

they distributed and sold in their retail stores. Through this data, Retail Chain Pharmacies had

direct knowledge of patterns and instances of improper distribution, prescribing, and use of



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prescription opioids in communities throughout the country, and in Florida in particular. They

used the data to evaluate their own sales activities and workforce. The Retail Chain Pharmacies

also provided other defendants with data regarding, inter alia, individual doctors in exchange for

rebates or other forms of consideration. The Retail Chain Pharmacies’ data is a valuable resource

that they could have used to help stop diversion, but failed to do so.

               (4)     Retail Chain Pharmacies’ Policy of Speed over Accuracy was
                       Negligent.
       198.    Performance metrics and prescription quotas adopted by the Retail Chain

Pharmacies for their retail stores contributed to their failure to perform their duties.

       199.    The performance metric systems rate the pharmacist employees at the stores

operated by Retail Chain Pharmacies based solely on productivity. These requirements place

significant and unrealistic time pressures on the pharmacists.

       200.    The Retail Chain Pharmacies measure how many and how quickly prescriptions

are filled daily based on store volume. Many of the Retail Chain Pharmacies’ locations require

pharmacists to fill one prescription every three minutes. The programs may also measure how

many telephone calls are made to customers to refill and/or pick up prescriptions; how many flu

shots are given; as well as other pharmacy tasks. All measurements focus on productivity with

the end goal of maximizing retail defendants’ profits.

       201.    In addition to the pharmacist’s other duties, Retail Chain Pharmacies required

their employee pharmacists to fill more than 600 prescriptions per work shift.

       202.    For example, CVS maintains a “Metrics System” to evaluate performance in its

pharmacists. Under CVS’s Metrics System, pharmacists are directed to meet high goals that

make it difficult, if not impossible, to comply with applicable laws and regulations. There is no

measurement for pharmacy accuracy or customer safety. Moreover, the bonuses for pharmacists



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are calculated, in part, on how many prescriptions that pharmacist fills within a year. Moreover,

the bonuses for pharmacists are calculated, in part, on how many prescriptions that pharmacists

are able to fill within a year.

        203.    At the same time that Retail Chain Pharmacies increased demands for

productivity, they cut the hours of pharmacy technicians, leaving pharmacists severely

understaffed and unable to provide all necessary services.

        204.    Retail Chain Pharmacies’ high-volume and increased-profits business model led

to a greater number of errors in dispensing prescriptions, which can result in substantial harm to

pharmacy customers.

        205.    A survey conducted by the Institute for Safe Medication Practices (“ISMP”) of

673 pharmacists revealed that 83% believed that distractions due to performance metrics or

measured wait times contributed to dispensing errors, and that 49% felt specific time

measurements were a significant contributing factor.

        206.    Further, the National Association of Boards of Pharmacy found that performance

metrics, which measure the speed and efficiency of prescription work flow—using such

parameters as prescription wait times, percentage of prescriptions filled within a specified time

period, number of prescriptions verified, and number of immunizations given per pharmacist

shift—may distract pharmacists and impair professional judgment.

        207.    The practices of applying performance metrics or quotas to pharmacists in the

practice of pharmacy may cause distractions that could potentially decrease pharmacists’ ability

to perform drug utilization review, interact with patients, and maintain attention to detail, which

could ultimately lead to unsafe conditions at a pharmacy.




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          208.   The Retail Chain Pharmacies productivity policies are directly at odds with their

performance of due diligence obligations required to be performed in conjunction with federal

and state law, especially given the higher duty of care associated with the prescription of narcotic

opioids.

          209.   The Retail Chain Pharmacies were negligent in failing to ensure, or even permit,

pharmacists in their stores to exercise the reasonable care necessary under the circumstances to

detect and prevent diversion.

                 (5)    The Retail Chain Pharmacies Failed to Train Employees or Audit
                        Data Regarding Opioid Diversion and Misuse
          210.   The Retail Chain Pharmacies failed to adequately train their pharmacists and

pharmacy techs on how to properly and adequately handle prescriptions for opioid painkillers,

including what constitutes a proper inquiry into whether a prescription is legitimate, whether a

prescription is likely for a condition for which the FDA has approved treatments with opioids,

and what measures and/or actions to take when a prescription is identified as phone, false, forged,

or otherwise illegal.

          211.   The Retail Chain Pharmacies failed to instruct their pharmacists and pharmacy

techs on how to address situations in which they are forced to decline filling a prescription for a

customer who submitted a prescription which a pharmacist has identified as suspicious.

          212.   The Retail Chain Pharmacies have failed to train their pharmacists and pharmacy

techs on how to properly exercise their judgment with respect to determinations about whether a

prescription is one that should be filled, or whether, under the law, the pharmacists should refuse

to fill it.




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       213.      The Retail Chain Pharmacies failed to adequately use data available to them to

identify doctors that were writing suspicious numbers of prescriptions and/or prescriptions of

suspicious amounts of opioids.

       214.      The Retail Chain Pharmacies failed to adequately use data available to them to do

statistical analysis to prevent the filling of prescriptions that contributed to the opioid crisis. The

Retail Chain Pharmacies failed to analyze: (a) the number of opioid prescriptions filled by

individual pharmacies relative to the population of the pharmacies relative to the population of

the pharmacy’s community; (b) the increase in opioid sales relative to past years; (c) the number

of opioid prescriptions filled relative to other drugs; and (d) the increase in annual opioid sales

relative to the increase in annual sales of other drugs.

       215.      The Retail Chain Pharmacies failed to conduct internal or external audits of their

opioid sales to identify patterns regarding prescriptions that should not have been filled and to

create policies accordingly.

       216.      The Retail Chain Pharmacies failed to effectively respond to concerns raised by

their own employees regarding inadequate policies and procedures regarding the filling of opioid

prescriptions.

                 (6)    The Retail Chain Pharmacies Violated the Controlled Substances Act

       217.      The Retail Chain Pharmacies violated the Controlled Substances Act by failing to

have in place policies and procedures to avoid the diversion of opioids.

       218.      The Retail Chain Pharmacies failed to speak with prescribing physicians prior to

dispensing opioids.

       219.      The Retail Chain Pharmacies failed to takes steps such as investigating whether a

prescription was written within a prescriber’s scope of practice.



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       220.    The Retail Chain Pharmacies failed to investigate whether an opioid prescription

was appropriate for the diagnosis.

       221.    The Retail Chain Pharmacies failed to investigate whether a therapeutic regimen

is within the standard of care.

       222.    The Retail Chain Pharmacies failed to investigate and consider the length of an

opioid prescription prior to dispensing.

       223.    The Retail Chain Pharmacies failed to review State Prescription Drug Monitoring

databases prior to dispensing.

       224.    The Retail Chain Pharmacies failed to abide by internal company policies in the

dispensing of opioids.

               (7)       Multiple Enforcement Actions against the Retail Chain Pharmacies
                         Confirms their Compliance Failures.
       225.    The Retail Chain Pharmacies have long been on notice of their failure to abide by

state and federal law and regulations governing the distribution and dispensing of prescription

opioids. Indeed, several of the Retail Chain Pharmacies have been repeatedly penalized for their

illegal prescription opioid practices. Based upon the widespread nature of these violations, these

enforcement actions are the product of, and confirm, national policies and practices of the Retail

Chain Pharmacies.

       226.    Numerous state and federal drug diversion prosecutions have occurred in which

prescription opioid pills were procured from Retail Chain Pharmacies. The allegations in this

Complaint do not attempt to identify all these prosecutions, and the information above is merely

by way of example.




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       227.    The litany of state and federal actions against the Retail Chain Pharmacies

demonstrate that they routinely, and as a matter of standard operation procedure, violated their

legal obligations that govern the distribution and dispensing of prescription opioids.

       228.    Throughout the country and in the Plaintiff’s geographical area in particular, the

Retail Chain Pharmacies were or should have been aware of numerous red flags of potential

suspicious activity and diversion.

       229.    From the vantage point of their retail pharmacy operations, the Retail Chain

Pharmacies knew or reasonably should have known about the disproportionate flow of opioids

into the Plaintiff’s geographical area and the operation of “pill mills” that generated opioid

prescriptions that, by their quantity or nature, were red flags for if not direct evidence of illicit

supply and diversion. Additional information was provided by news reports, and state and

federal regulatory actions, including prosecutions of pill mills in the area.

       230.    The Retail Chain Pharmacies knew or reasonably should have known about the

devastating consequences of the oversupply and diversion of prescription opioids, including

spiking opioid overdose rates in Plaintiff’s community.

       231.    Because of (among other sources of information) regulatory and other actions

taken against the Retail Chain Pharmacies directly, actions taken against others pertaining to

prescription opioids obtained from their retail stores, complaints and information from

employees and other agents, and the massive volume of opioid prescription drug sale data that

they developed and monitored, the Retail Chain Pharmacies              were well aware that their

distribution and dispensing activities fell far short of legal requirements.




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       232.    The Retail Chain Pharmacies ’ actions and omission in failing to effectively

prevent diversion and failing to monitor, report, and prevent suspicious orders have contributed

significantly to the opioid crisis by enabling, and failing to prevent, the diversion of opioids.

                       (a)     CVS
       233.    CVS is one of the largest companies in the world, with annual revenue of more

than $150 billion. According to news reports, it manages medications for nearly 90 million

customers at 9,700 retail locations.

       234.    CVS is a repeat offender and recidivist: the company has paid fines totaling over

$40 million as the result of a series of investigations by the DEA and the United States

Department of Justice (“DOJ”). It nonetheless treated these fines as the cost of doing business

and has allowed its pharmacies to continue dispensing opioids in quantities significantly higher

than any plausible medical need would require, and to continue violating its recordkeeping and

dispensing obligations under the CSA.

       235.    As recently as July 2017, CVS entered into a $5 million settlement with the U.S.

Attorney’s Office for the Eastern District of California regarding allegations that its pharmacies

failed to keep and maintain accurate records of Schedule II, III, IV, and V controlled substances.

       236.    This fine was preceded by numerous others throughout the country.

       237.    In February 2016, CVS paid $8 million to settle allegations made by the DEA and

the DOJ that from 2008-2012, CVS stores and pharmacists in Maryland violated their duties

under the CSA and filling prescriptions with no legitimate medical purpose.

       238.    In October 2016, CVS paid $600,000 to settle allegations by the DOJ that stores

in Connecticut failed to maintain proper records in accordance with the CSA.

       239.    In September 2016, CVS entered into a $795,000 settlement with the

Massachusetts Attorney General wherein CVS agreed to require pharmacy staff to access the


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state’s prescription monitoring program website and review a patient’s prescription history

before dispensing certain opioid drugs.

       240.    In June 2016, CVS agreed to pay the DOJ $3.5 million to resolve allegations that

50 of its stores violated the CSA by filling forged prescriptions for controlled substances—

mostly addictive painkillers—more than 500 times between 2011 and 2014.

       241.    In August 2015, CVS entered into a $450,000 settlement with the U.S. Attorney’s

Office for the District of Rhode Island to resolve allegations that several of its Rhode Island

stores violated the CSA by filling invalid prescriptions and maintaining deficient records. The

United States alleged that CVS retail pharmacies in Rhode Island filled a number of forged

prescriptions with invalid DEA numbers, and filled multiple prescriptions written by psychiatric

nurse practitioners for hydrocodone, despite the fact that these practitioners were not legally

permitted to prescribe that drug.         Additionally, the government alleged that CVS had

recordkeeping deficiencies.

       242.    In May 2015, CVS agreed to pay a $22 million penalty following a DEA

investigation that found that employees at two pharmacies in Sanford, Florida, had dispensed

prescription opioids, “based on prescriptions that had not been issued for legitimate medical

purposes by a health care provider acting in the usual course of professional practice. CVS also

acknowledged that its retail pharmacies had a responsibility to dispense only those prescriptions

that were issued based on legitimate medical need.”

       243.    In September 2014, CVS agreed to pay $1.9 million in civil penalties to resolve

allegations it filled prescriptions written by a doctor whose controlled-substance registration had

expired.




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        244.    In August 2013, CVS was fined $350,000 by the Oklahoma Pharmacy Board for

improperly selling prescription narcotics in at least five locations in the Oklahoma City

metropolitan area.

        245.    Dating back to 2006, CVS retail pharmacies in Oklahoma and elsewhere

intentionally violated the CSA by filling prescriptions signed by prescribers with invalid DEA

registration numbers.

        246.    CVS has had knowledge and/or notice of the opioid problem since at least 2002.

        247.    At any time since CVS had knowledge and/or notice of the opioid problem it

could have unilaterally taken steps to curtail and prevent expansion of the problem, but it failed

to do so.

                         (b)     Walgreens
        248.    Walgreens is the second-largest pharmacy store chain in the United States behind

CVS, with annual revenue of more than $118 billion. According to its website, Walgreens

operates more than 8,100 retail locations and filled 990 million prescriptions on a 30-day

adjusted basis in fiscal 2017.

        249.    Walgreens also has been penalized for serious and flagrant violations of the CSA.

Indeed, Walgreens agreed to the largest settlement in DEA history—$80 million—to resolve

allegations that it committed an unprecedented number of recordkeeping and dispensing

violations of the CSA, including negligently allowing controlled substances such as oxycodone

and other prescription opioids to be diverted for abuse and illegal black market sales.

        250.    The settlement resolved investigations into and allegations of CSA violations in

Florida, New York, Michigan, and Colorado that resulted in the diversion of millions of opioids

into illicit channels.




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          251.   Walgreens’ Florida operations at issue in this settlement highlight its egregious

conduct regarding diversion of prescription opioids. Walgreens’ Florida pharmacies each

allegedly ordered more than one million dosage units of oxycodone in 2011—more than ten

times the average amount.

          252.   They increased their orders over time, in some cases as much as 600% in the

space of just two years, including, for example, supplying a town of 3,000 with 285,800 orders

of oxycodone in a one-month period. Yet Walgreens corporate officers turned a blind eye to

these abuses. In fact, corporate attorneys at Walgreens suggested, in reviewing the legitimacy of

prescriptions coming from pain clinics, that “if these are legitimate indicators of inappropriate

prescriptions perhaps we should consider not documenting our own potential noncompliance,”

underscoring Walgreens’ attitude that profit outweighed compliance with the CSA or the health

of communities.

          253.   Defendant Walgreens’ settlement with the DEA stemmed from the DEA’s

investigation into Walgreens’ distribution center in Jupiter, Florida, which was responsible for

significant opioid diversion in Florida. According to the Order to Show Cause, Defendant

Walgreens’ corporate headquarters pushed to increase the number of oxycodone sales to

Walgreens’ Florida pharmacies, and provided bonuses for pharmacy employees based on number

of prescriptions filled at the pharmacy in an effort to increase oxycodone sales. In July 2010,

Defendant Walgreens ranked all of its Florida stores by number of oxycodone prescriptions

dispensed in June of that year, and found that the highest-ranking store in oxycodone sales sold

almost 18 oxycodone prescriptions per day. All of these prescriptions were filled by the Jupiter

Center.




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        254.    Walgreens has also settled with a number of state attorneys general, including

West Virginia ($575,000) and Massachusetts ($200,000).

        255.    The Massachusetts Attorney General’s Medicaid Fraud Division found that, from

2010 through most of 2015, multiple Walgreens stores across the state failed to monitor the

opioid use of some Medicaid patients who were considered high-risk.

        256.    In January 2017, an investigation by the Massachusetts Attorney General found

that some Walgreens pharmacies failed to monitor patients’ drug use patterns and didn’t use

sound professional judgment when dispensing opioids and other controlled substances—despite

the context of soaring overdose deaths in Massachusetts. Walgreens agreed to pay $200,000 and

follow certain procedures for dispensing opioids.

                        (c)     Rite Aid
        257.    With approximately 4,600 stores in 31 states and the District of Columbia,

including 133 in New York, Rite Aid is the largest drugstore chain on the East Coast and the

third-largest in the United States, with annual revenue of more than $21 billion.

        258.    In 2009, as a result of a multi-jurisdictional investigation by the DOJ, Rite Aid

and nine of its subsidiaries in eight states were fined $5 million in civil penalties for its violations

of the CSA.

        259.    The investigation revealed that from 2004 onwards, Rite Aid pharmacies across

the country had a pattern of non-compliance with the requirements of the CSA and federal

regulations that lead to the diversion of prescription opioids in and around the communities of

the Rite Aid pharmacies investigated. Rite Aid also failed to notify the DEA of losses of

controlled substances in violation of 21 USC 842(a)(5) and 21 C.F.R 1301.76(b).




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                (8)    Opioids Diverted in One Location Migrate to Others
        260.    The Retail Chain Pharmacies’ failure to control the supply chain and prevent

diversion adversely affected communities throughout the United States. Once diverted opioids

do not stay put. Rather, diverted opioids move from areas of high supply to areas of high

demand, traveling across state lines in a variety of ways.

        261.    First, prescriptions written in one state may, under some circumstances, be filled

in a different state. But even more significantly, individuals transported opioids from one

jurisdiction specifically to sell them in another. When authorities in some states cracked down

on opioid suppliers, suppliers in other states filled the gaps. Florida in particular assumed a

prominent role, as its lack of regulatory oversight created a fertile ground for pill mills. Residents

of other states would simply drive to Florida, stock up on pills from a pill mill, and transport

them back to home to sell. The practice became so common that authorities dubbed these

individuals “prescription tourists.”

        262.    Thus, once diverted into the illegal market in one location, prescription opioids

could then flow freely into Florida and elsewhere. In particular, the I-95 corridor was one route

by which diverted prescription opioids travelled from Florida northward to other states.

        263.    For this reason, the Retail Chain Pharmacies’ negligence in failing to prevent in

diversion in Florida, and throughout the United States, substantially contributed to the opioid

crisis in Florida.




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